         Case 2:19-cv-13341-MAG-RSW ECF No. 4 filed 11/18/19                           PageID.23          Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofMichigan
                                                                      __________


                        Priorities USA,                        )
                             Plaintiff                         )
                                v.                             )      Case No.     2:19-cv-13341-MAG-RSW
                         Dana Nessel                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Priorities USA                                                                                                .


Date:          11/18/2019                                                                /s/ Marc Erik Elias
                                                                                          Attorney’s signature


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